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                                            August 3, 2022

VIA ECF
The Honorable J. Paul Oetken
United States District Judge
Thurgood Marshall United States Courthouse
40 Foley Square, Room 2101
New York, NY 10007

       Re:    SEC v. Hwang, et al., No. 22 Civ. 3402 (JPO) (S.D.N.Y.)

Dear Judge Oetken:

         Pursuant to Federal Rule of Civil Procedure 15(a)(2), and the Court’s July 6, 2022 Order
(DE 43), Plaintiff Securities and Exchange Commission (“SEC”) respectfully notifies the Court
that, on written consent of Defendants Sung Kook (Bill) Hwang, Patrick Halligan, and Archegos
Capital Management, LP (collectively, “Defendants”), the SEC will file its Amended Complaint
in this case on or before August 26, 2022. On July 15, 2022, the Commission notified the Court
and parties that it would file its Amended Complaint by August 5, 2022. That same day, the
Second Circuit issued SEC v. Rio Tinto, No. 21-2042, 2022 WL 2760323 (2d Cir. July 15, 2022),
which addresses the parameters of certain “misstatement” and “scheme” liability claims under
Section 10(b) of the Securities Exchange Act of 1934 and Section 17(a) of the Securities Act of
1933. The SEC needs the additional time to consider its pleadings in light of the Rio Tinto
decision.

        Defendants yesterday consented in writing to the SEC’s requested extension, provided
that the SEC continues to consent to Defendants having up to sixty days to respond to the SEC’s
Amended Complaint. The SEC likewise continues to consent to Defendants’ request.

                                            Respectfully submitted,

                                            /s/ Jack Kaufman
                                            Jack Kaufman
                                            Trial Counsel
                                            SEC Division of Enforcement


cc:    By ECF to all counsel of record.
       By email to Jason Brown, Esq. and Helen Cantwell, Esq.
